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                 EXHIBIT B
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   Date:Thu, 22 Sep 2016 16:16:22 -0400
  From:David Roemer <david@dkroemer.com>
    To: skg56@columbia.edu, Bollinger, Lee <officeofthepresident@columb ia.edu>


Dear Mr. Bollinger,
I am a retired New York City high school teacher, and I'd like to give the students and faculty of Columbia University
a learner-centered lesson on the arguments for God's existence. I'v attached the hand-out I would use. My ideas about
the topic are expressed in the following article.

https://www.academia.edu/23340072/ WHY PEOPLE BELIEVE GOD CAUSED THE BIG BANG

On Sept. 15, I communicated this offer to the University Chaplain in an email. There was no response to this email,
however, I got a call from your Department ofPublic Safety and met with Deidre Fuchs and a member ofher staff in
Low Library this afternoon. Ms. Fuchs told me that Chaplain Davis was not interested in sponsoring such an event.
Ms. Fuchs also said that Chaplain Davis discussed the matter with all ofthe Religious Life Advisors on her staff and
that no one was interested in my offer. Ms. Fuchs also told me that I would be guilty of harassment ifl contacted the
Religious Life Leaders with my offer. I understand this to be a threat to file a civil or criminal charges against me if
send emails, write letters, or telephone the various Religious Life Advisors with my offer. I am writing to warn you
that any legal action taken against me for contacting the members of the Religious Life Advisors will be result in a
civil action by me against Columbia U.



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I was also warned not to contact again two undergraduates I sent emails to on March 16, Aug. 13, and Aug. 20. This
matter concerns you directly, I believe, because I have communicated about this matter to James Valentini and
Matthew Patashnick to no avail.

On March 16, I sent emails to the two co-Presidents ofthe Catholic Campus Ministry offering to give my lesson. The
only response I got was from Fr. O'Reilly who said, "If you contact them again, you will hear from our Safe
Environment lawyers who deal with the endangerment and entrapment of minors." I am concerned that the content of
my email and Fr. O'Reilly's irrational behavior scandalized the undergraduates. I told Cardinal Dolan about my
concerns, but to my knowledge, Cardinal Dolan has done nothing to make sure the students understand the reasons for
believing in God and the arguments for God's existence. I believe Msgr. Paddack is the student's pastor. I am asking
you to ask Msgr. Paddack to make sure he is carrying out his priestly responsibilities.

My correspondence with the Archdiocese ofNew York is here:
http://www.newevangelist.me
Very truly yours,
David Roemer
347-414-2285




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A Developmental Lesson on the Arguments for the Existence of God

What Is a Developmental Lesson?


Lecturing is not a good way for anyone to learn. Students learn best if they are given an
opportunity to create their own knowledge by answering questions and discussing the aim of the
lessons in a group. What follows can be used as a handout in a lesson explaining the arguments
for God's existence.

1. The human mind is structured like the scientific method. At the lowest level is making observations. The
next level is asking questions about the observations and inventing answers. The third level is gathering
evidence and deciding whether an answer is true or just probable. The fourth level is deciding what to do
with our bodies. Making observations requires paying attention. What do the other three levels require?




2. What are the observations that lead to our knowledge of God's existence?




3. What are the questions that the observations in your answer to question #2 should cause an intelligent
person to ask?




4. What is wrong with this quote from an atheist about the mind-body problem: "Among the traditional
candidates for comprehensive understanding of the relation of mind to the physical world, I believe the
weight of evidence favors some from of neutral monism over the traditional alternatives of materialism,
idealism, and dualism." (Thomas Nagel, Mind and Cosmos: Why the Materialist Neo-Darwinian Conception
of Nature Is Almost Certainly False, location 69 of 1831)




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5. What is wrong with this quote from a biology textbook about the mind-body problem: "And certain
properties of the human brain distinguish our species from all other animals. The human brain is, after all,
the only known collection of matter that tries to understand itself. To most biologists, the brain and the mind
are one and the same; understand how the brain is organized and how it works, and we'll understand such
mindful functions as abstract thought and feelings. Some philosophers are less comfortable with this
mechanistic view of mind, finding Descartes' concept of a mind-body duality more attractive." (Neil
Campbell, Biology, 4th edition, p. 776)




6. What is wrong with this quote from a Catholic philosopher about the mind-body problem: "Acts of self-
consciousness (awareness of awareness) are difficult to explain through regular space-time models (one
act of awareness capturing itself, as it were)." (Robert Spitzer, New Proofs for the Existence of God:
Contributions of Contemporary Physics and Philosophy, 2010, location 2211 ).




7. What is wrong with this quote from a Catholic physicist about the mind-body problem: "However, having
started with the empirically quite unsupported postulate of atheism, the materialists is practically forced to
call a variety of empirical facts 'illusions'-not facts that are in front of his eyes, but are behind his eyes, so
to speak, facts about his own mind .... None of this is to deny that there are some very hard questions that
arise from the idea that the human mind is not entirely reducible to .matter. There certainly are. For
instance, if there is something immaterial about the mind, how does it affect the brain and body?" (Stephen
M. Barr, Modern Physics and Ancient Faith, 2003, location 4612)




8. Why are human beings superior to animals?




9. Why are human beings equal to one another?




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 10. How can two humans be different from one another and at the same time equal to one another?




11. What is a human being?




12. Bishop George Berkeley (1685 to 1753) was sitting on a rock and contemplating the universe. He
figured he existed because God created him. Berkeley then realized that the rock did not know it existe~t
Why did God create the rock? Berkley figured God created the rock so Berkeley would have a place to sit.
But God has infinite power, so God could just .as easily create the illusion that the rock exists in Berkeley's
mind as the rock itself. The philosophy that the material world is an illusion is called idealism. Why is
. idealism wrong?




13. What is the significance for the arguments for God's existence of the fact that other human beings
exist?




14. What is a final cause?




15. What is causality in physics?




16. What is causality in metaphysics?




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17. What is the difference betWeen causality in physics and causality in metaphysics?




18. Why does a finite being need a cause?




19. What can cause a finite being?




20. Can there be an infinite regression of finite beings: A is caused by 8, 8 is caused by C, and so on?




21. What is the argument for the existence of God based on the existence of finite beings?




22. Why is the argument based on finite beings not a proof of God's existence?




23. What is the other argument for the existence of God?




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